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                    IN THE UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF MICHIGAN

                                SOUTHERN DIVISION




             TRUTEK CORP.,
                Plaintiff,
                                            CIVIL ACTION No. 4:21-cv-10312-FKB-RSW
                     v.

         BlueWillow Biologics, Inc.          Hon. F. Kay Behm
     ROBIN ROE 1 through 10, gender
      neutral fictitious names, and ABC
    CORPORATION 1 through 10 (fictitious
                      names).

                Defendants.




      PLAINTIFF TRUTEK'S BRIEF IN OPPOSITION TO DEFENDANT
         BLUEWILLOW'S MOTION FOR SUMMARY JUDGMENT




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   2.    Plaintiff's Opening Technical Report — Dr. Edward A. Lemmo

   3.    Report of Edward A. Lemmo, Ph.D. in Reply to Defendant's Expert
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   5.    Plaintiff's Expert Report of Edward A. Lemmo, Ph.D. Responsive To
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             Pursuant to Fed. R. Civ. P. 56, Plaintiff/Counter-Defendant, Trutek

   Corp. ("Trutek"), by and through its counsel, Stanley H. Kremen, Esq.,

   submits its brief in opposition to Defendant/Counter-Plaintiff, BlueWillow

   Biologics, Inc.'s Motion For Summary Judgment.                     The stipulated order

   entered January 23, 2023 extended the page limits for briefs in opposition to

   summary judgment motions to 40 pages. ECF 55.

   I.        INTRODUCTION

             Fed. R. Civ. P. 56(a) states, "[t]he court shall grant summary

   judgment if the movant shows that there is no genuine dispute as to any

   material fact and the movant is entitled to judgment as a matter of law."

   However, in this matter, Plaintiff's version of the facts differs substantially

   from Defendant's version. There is a genuine dispute. Moreover, "courts

   are required to view the facts and draw reasonable inferences 'in the light

   most favorable to the party opposing the [summary judgment] motion.'"

   Scott v. Harris, 550 U.S. 372, 377 (2007).1 "Summary judgment will not lie

   if the dispute about a material fact is 'genuine,' that is, if the evidence is such

   that a reasonable jury could return a verdict for the nonmoving party. At the

   summary judgment stage, the trial judge's function is not himself to weigh

   the evidence and determine the truth of the matter but to determine whether


   1
       Citing United States v. Diebold, Inc., 369 U.S. 654, 655 (1962).

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   there is a genuine issue for trial." Anderson v. Liberty Lobby, Inc., 477 U.S.

   242 (1986).

          In its motion, Defendant alleged three issues, the facts of which are

   disputed by Plaintiff.

              1. Trutek cannot meet its burden to establish that
                 BlueWillow has infringed the claims of the U.S. Patent
                 8,163,802 ("the '802 Patent").2
              2. Trutek cannot be awarded any relief for its claims of
                 infringement, injunctive relief, or damages - because
                 BlueWillow is no longer selling the accused product and
                 because Trutek has failed to meet its burden of
                 demonstrating any pre-suit damages, including for the
                 reasons provided in BlueWillow's Motion to Exclude
                 Damages (Dkt. 39).
              3. Each of the asserted claims of the '802 Patent are
                 anticipated by U.S. Application No. 2009/0143476
                 ("Baker") when applying Trutek's own infringement
                 theories.

   II.    Summary Judgment of Non-Infringement should not be granted
          because BlueWillow's product NanoBio® Protect infringes claims
          1, 2, 6, and 7 of the '802 Patent.

          Sometime in early 2021, individuals employed by Trutek discovered

   that BlueWillow's NanoBio® Protect was being sold at the same online

   outlets as Trutek's NasalGuard® products and in direct competition with

   Trutek's    products.        Examination      of    the    BlueWillow      website,

   www.bluewillow.com, convinced Trutek personnel that the BlueWillow

   2
    Defendant submitted a copy of the '802 Patent as part of an exhibit accompanying its
   Motion for Summary Judgment — ECF 59-3, PageID 1892 through 1897 (i.e. pp 8-13 of
   98).

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   product infringed claims of the '802 Patent.       A screenshot copy of the

   relevant BlueWillow web pages is uploaded herewith as Exhibit 1. The

   asserted claims of the '802 Patent are claims 1, 2, 6, and 7.

   1.    A method for electrostatically inhibiting harmful particulate matter
         from infecting an individual through nasal inhalation wherein a
         formulation is applied to skin or tissue of nasal passages of the
         individual in a thin film, said method comprising:
         a)    electrostatically attracting the particulate matter to the thin film;
         b)    holding the particulate matter in place by adjusting the adhesion
               of the thin film to permit said thin film to stick to the skin or
               tissue and by adjusting the cohesion of the formulation to
               provide adequate impermeability to the thin film; and,
         c)    inactivating the particulate matter by adding at least one
               ingredient that would render said particulate matter harmless.

   2.    A formulation for electrostatically inhibiting harmful particulate
         matter from infecting an individual through nasal inhalation wherein
         the formulation is applied to skin or tissue of nasal passages of the
         individual in a thin film, said formulation comprising at least one
         cationic agent and at least one biocidic agent, and wherein said
         formulation, once applied:
         a)    electrostatically attracts the particulate matter to the thin film;
         b)    holds the particulate matter in place by adjusting the adhesion
               of the thin film to permit said thin film to stick to the skin or
               tissue and by adjusting the cohesion of the formulation to
               provide adequate impermeability to the thin film; and,
         c)    inactivates the particulate matter and renders said particulate
               matter harmless.

   6.    The formulation of claim 2 wherein the at least one cationic agent is
         Benzalkonium Chloride.

   7.    The formulation of claim 2 wherein the at least one biocidic agent is
         Benzalkonium Chloride or Lysine HCL.




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             The contents of the web pages shown in Exhibit 1 represent

    admissions of a party opponent, and are not precluded from admissibility as

    hearsay under Fed. R. Evid. 801(d)(2).

    A.       NanoBio® Protect electrostatically attracts harmful particles
             (germs) and renders them harmless, satisfying Element (a) of
             Claims 1 and 2.

             In Exhibit 1, BlueWillow states that, "NanoBio® Protect is an alcohol-

    free antiseptic product that can be used to help reduce germs on skin that

    can cause infections." It further states, "[t]he product is easy to apply with

    any cotton swab for use on the skin around the rim of your nose as well as

    the skin one-half inch inside each nostril." (Ex. 1, Page 1.) Then, "The

    nano-droplets are attracted to germs by electro-kinetic charge and present

    the BZK3 in such a way to enable killing of germs on contact," (Id. at Page

    2.)4

             Thus, BlueWillow’s website makes it clear that NanoBio® Protect is a

    formulation that electrostatically inhibits harmful particulate matter (i.e.,

    germs) through nasal inhalation wherein the formulation is applied to skin

    or tissue of nasal passages of the individual. (Claims 1 & 2.)

    B.       NanoBio® Protect forms a thin film in the nasal passages having
             adequate impermeability, thus satisfying Element (b) of claims 1
             and 2.

    3
        BZK is BlueWillow's acronym for benzalkonium chloride.
    4
        Emphasis added.

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    1.        Nanobio® Protect forms a thin film in the users nasal passages.

              Now, on page 10 of its brief, Defendant alleges, "NanoBio® Protect

    does not form a 'thin film' having 'adequate impermeability.'" Dr. Edward

    Lemmo's5 "Opening Technical Report" is submitted herewith as Exhibit 2.

    On page 11, he states:

                  Here, the Nanobio Protect product is a liquid nanoemulsion
              consisting of nano-droplets that range between 300-600
              nanometers in size (Id.). These droplets are extremely small. A
              nanometer is one-billionth of a meter. When administered to a
              user's nostrils, the product forms a thin film that adheres to the skin
              or tissue of his nasal passages. If that were not the case, the liquid
              would instantly drip out of the user's nose. Instead, "the droplets
              persist on the skin for four or more hours." Further, the "droplets
              significantly hydrate skin to avoid dryness and cracking that can
              allow germs in." Thus the product exhibits impermeability.

              In that opinion, Dr. Lemmo provides the logic to show that the

    NanoBio® Protect product forms a thin film on the skin or tissue of the

    nasal passages. If a surface (e.g., skin) is wetted by a liquid, the liquid

    adheres to that surface in a thin film. If that were not so, then the surface

    would not remain wet. On Page 15 of its brief, Defendant quotes from Dr.

    Lemmo's deposition (ECF 49-2, at 222:23-1). In his deposition, Dr. Lemmo

    agreed that, "[b]y their very nature, nanoemulsion droplets exhibit an

    electrostatic charge which causes them to repel one another." He further

    agreed that when applied to the skin, the nanoemulsion does not form a


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        Dr. Edward A. Lemmo is one of Trutek's expert witnesses.

                                                 5
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    continuous layer on the skin. It still exists as individual droplets. However,

    neither claim 1 nor 2 recite that the thin film is continuous. It can be

    logically deduced that even if the layer of the NanoBio product resembles

    "Swiss cheese," the product still coats the skin or tissue of the nasal passages

    as a thin film.

           Dr. Lemmo's expert report replying to Defendant's expert report on

    non-infringement is submitted herewith as Exhibit 3. On page 11 of that

    report, Dr. Lemmo said:

              It is well-known that most harmful particles (including
           microorganisms) are negatively charged. It is basic physics that
           there would electrostatic attraction between the nano-droplets and
           the harmful particles. Once applied to the skin or tissue of the
           individual's nasal passages, the nano-droplets remain active in the
           nose for up to 8 hours. The Nanobio Protect product adheres to
           the nasal tissue in a tin film. If this were not so, the liquid would
           immediately drip out. The nanoemulsion becomes impermeable,
           not allowing "germs to penetrate." The "germs" become in contact
           with the benzalkonium chloride biocide and are held there long
           enough to be deactivated and rendered harmless.

    2.     The NanoBio® Protect thin film exhibits adequate impermeability

           Now, we get to the issue of adequate impermeability. Claims 1 and 2

    speak of adequate impermeability in Element (b) supra. As such, it is

    integral to the "hold" function. On page 8 of his expert report submitted on

    August 23, 2022, Dr. Lemmo said:

               Most harmful airborne particles have a negative
           electrostatic charge. The formulation is applied to the skin or
           tissue of the nasal cavities as a thin film. The presence of a


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          cationic agent in the formulation produces a positive
          electrostatic charge, which attracts and captures the negatively
          charged particles. A biocide in the formulation would
          ordinarily be expected to inactivate and kill the captured
          bioactive particles. But, to be effective, biocidic action requires
          contact with bioactive particles for a certain time period. If the
          captured particles happen to dislodge from the formulation's
          thin film, they would remain active and be inhaled. Even if they
          were in contact with the biocide for a sufficient time to be
          inactivated, the dislodged inactivated particles would still be
          able to be inhaled. Thus the "hold" function is critical to
          usefulness of the invention.

          In its claim construction decision (ECF 53) following the Markman

    Hearing, this Court stated, "when read in the context of the invention, the

    term 'adequate impermeability' refers to a part of the technology that allows

    harmful particulate matter to be held in place long enough to be rendered

    harmless. It is an expression of the qualities inherent in the thin film that

    allow the technology to work according to its specification."

          Returning to Page 2 of Exhibit 1, the NanoBio droplets (comprising

    an oil-in-water nanoemulsion) surround the germs, holding them for a

    sufficient time to render them harmless. The harmful particles are held in

    place long enough so as to be inactivated.




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    3.    The Nanobio® Protect formulation contains both a cationic agent
          and a biocidic agent, and benzalkonium chloride serves both
          functions.

          Finally, claim 2 of the '802 Patent recites a formulation containing

    both a cationic agent and a biocidic agent. Benzalkonium chloride (BZK) is

    a cationic agent, capable of producing a positively charged electrostatic

    field. It is also a well-known biocide.

          Claim 6 states that the cationic agent of the formulation of claim 2 is

    benzalkonium chloride (BZK). Claim 7 states that the biocidic agent of that

    formulation is also benzalkonium chloride.

    C.    The amount of benzalkonium chloride present in the NanoBio®
          Protect Product is sufficient to satisfy the claimed functions.

          On page 16 of its brief, Defendant alleges, "NanoBio® Protect does

    not contain a sufficient amount of BZK to satisfy the claimed functions."

    Defendant stated that "each of the elements of claim 2 "requires the claimed

    formulation to:




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           "electrostatically inhibit [] harmful particulate matter from
            infecting an individual" (claim preamble);

           "electrostatically attract [] the particulate matter to the thin film"
            (claim element (a) ("attract" or "catch"));

           "hold[] the particulate matter in place . . ." (claim element (b)
            ("hold")); and

           "inactivat[] the particulate matter" and "render[] said particulate
            matter harmless" (claim element (c) ("kill" or "inactivate")).

          First, Plaintiff cites Exhibit 1, which contains admissions by

    BlueWillow under Fed. R. Evid. 801(d)(2).

    1.    NanoBio® Protect electrostatically inhibits harmful particulate
          matter from infecting an individual.

          The term "electrostatically inhibits” must first be defined.         This

    Court's Claim Construction Opinion and Order dated January 10, 2023,

    ("Markman Order") ECF 53, at Page 11 stated:

          Plaintiff suggested “electrostatically inhibiting” be construed
          as referring to a “formulation, which when applied to a
          surface, creates an electrostatic field such that oppositely
          charged particulates (including microorganisms) in the vicinity
          of the surface are electrostatically trapped, held thereto, and
          one or more of the microorganisms so captured is neutralized,
          killed, inactivated, and rendered harmless.”

          Further, at Page 12, the Markman Order stated, "The term

    'electrostatically inhibiting' refers to one of the formulation’s key functions:

    using an electrostatic field to trap and neutralize harmful particles.        It




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    references both the electrostatic means by which the formulation operates

    and the aim of that formulation."

           And, finally at Page 15, the Markman Order stated, "[f]or all the

    reasons stated above, the Court will adopt Plaintiff’s construction of the term

    'electrostatically inhibiting.'"



           Now, on Page 1 of Exhibit 1, in describing the action of NanoBio®

    Protect, BlueWillow states, "NanoBio® Protect is an alcohol-free nasal

    antiseptic solution that can be used to help reduce germs on skin that can

    cause infections." BlueWillow continues, "The nano-droplets are attracted

    to germs by electro-kinetic charge and present the BZK in such a way to

    enable killing of germs on contact." Id. at Page 2.

           Thus, according to the Courts accepted definition of the claim term,

    NanoBio® Protect electrostatically inhibits harmful particulate matter

    from infecting an individual.

    2.     NanoBio® Protect electrostatically attracts the particulate matter
           to the thin film.

           On Page 16 of the Markman Order, the Court stated, "Plaintiff

    suggested a construction of 'electrostatically attracting' to describe a

    “formulation, which when applied to a surface, creates an electrostatic field

    such    that    oppositely         charged        airborne   particulates   (including

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    microorganisms) in the vicinity of the surface are electrostatically trapped."

          Then, it stated, "[t]he Court will adopt Plaintiff’s proposed

    construction because the term 'electrostatically attracting' has a meaning that

    is clear from the plain language of the patent." Id.

          As argued supra, when applied to the nasal mucosa, NanoBio®

    Protect forms a thin film on the skin or tissue of the nasal passages.

    BlueWillow states, "[t]he nano-droplets are attracted to germs by electro-

    kinetic charge," and "[t]he droplets persist on skin for 4 or more hours,

    enabling long-lasting effectiveness."       Exhibit 1, at Page 2.     Further,

    BlueWillow states that, "[t]he nanodroplets are small enough to be effective

    on the skin, but too large to be absorbed into the bloodstream – creating a

    layer of lasting protection." Id. at Page 7.

          Thus, according to the Courts accepted definition of the claim term

    and BlueWillow's admissions regarding the actions of its product,

    NanoBio® Protect electrostatically attracts the particulate matter to the

    thin film.

    3.    NanoBio® Protect holds the particulate matter in place by
          adjusting the adhesion of the thin film to stick to the skin or tissue
          and by adjusting the cohesion of the formulation to provide
          adequate impermeability.

          BlueWillow admits that the NanoBio® Protect nanodroplets surround

    germs, and kill them via membrane disruption. Exhibit 1, Page 2. As

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    argued supra, by surrounding the harmful particulate matter (i.e., germs) for

    a period of time long enough to "kill" them, the product satisfies the claimed

    "hold" function.

          On Page 17 of the Markman Order, the Court stated, "Plaintiff argued

    that 'adequate impermeability' refers to the “thin film holding harmful

    particles in place and inhibiting them from penetrating the thin film and

    contacting the skin or tissue of an individual’s nasal passages. This is done

    by varying the concentration of ingredients . . . [, ] thereby adjusting the

    adhesion and cohesion of the thin film." This Court adopted Plaintiff's

    construction of this term.

          BlueWillow stated, "[t]he droplets persist on skin for 4 or more hours,

    enabling long-lasting effectiveness." Thus, they adhere to the skin or tissue

    of the nasal passages. Exhibit 1, Page 2. Because, the liquid does not drip

    out of the user's nose, the product has adequate viscosity (i.e., it is cohesive).

          Further, BlueWillow states that, "[t]he nanodroplets are small enough

    to be effective on the skin, but too large to be absorbed into the bloodstream

    – creating a layer of lasting protection." Id. at Page 7. Thus the layer of

    lasting protection (i.e., the thin film) is impermeable.

          Thus, NanoBio® Protect holds the particulate matter in place by

    adjusting the adhesion of the thin film to stick to the skin or tissue and by



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    adjusting the cohesion of the formulation to provide adequate

    impermeability.

    4.    NanoBio® Protect inactivates the harmful particulate matter and
          renders said particulate matter harmless.

          Clearly, BlueWillow makes this claim throughout Exhibit 1.

    BlueWillow claims that the BZK kills germs on contact via membrane

    disruption. Thus, they are deactivated.



    5.    Verification that the amount of benzalkonium chloride present in
          the NanoBio® Protect product is sufficient to satisfy the claimed
          functions.

          In its brief, Defendant makes much ado that the ten formulations in

    the '802 Patent list the amount of benzalkonium chloride in the range of

    0.25-1%. This was even confirmed by Dr. Lemmo in his deposition. See

    Defendant's brief, Page 19. Defendant then states, "Trutek cannot credibly

    argue now, that a product containing only 0.13% BZK will function as

    required by the '802 Patent asserted claims, given that the amount of BZK is

    less than half of what is required."

          Defendant's argument fails for two reasons. First, Exhibit 1 shows

    that NanoBio® Protect does indeed function as required by the '802 Patent

    asserted claims, even though it contains only 0.13% benzalkonium chloride.

    Second, the ten formulations listed in the specification of the '802 Patent are

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    merely examples (embodiments) of what is claimed. They are not exclusive.

    The claims of the '802 Patent do not specify any percentages of ingredients

    to endow the formulation with effective inhibition of infection from

    inhalation of harmful particulate matter. Nothing in the patent specification,

    or in any statements made by Dr. Lemmo (or any of Trutek's experts) set

    forth that a lesser amount of benzalkonium chloride would be ineffective.

    BlueWillow has not presented any evidence to show that a formulation

    containing only    0.13% benzalkonium chloride would be ineffective in

    performing the functions claimed in the '802 Patent.

          During development of its own NasalGuard® products, Trutek

    regularly makes measurements in its own laboratory that are indicative of

    the surface electrostatic charge of its products. This is a function of Trutek's

    quality assurance process. Studies have been performed that confirm the

    efficacy of Trutek's own products in protecting against infections from

    airborne microorganisms.

          Sometime around January 2021, Trutek personnel purchased

    specimens of NanoBio® Protect, and tested them as they would Trutek's

    own products. The results of their experiments demonstrated to Trutek

    personnel that the surface electrostatic charge is close in magnitude to




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    Trutek current NasalGuard® products that claim the protection of the '802

    Patent.

           To confirm its own measurements, Trutek turned to two outside

    experts,6 who independently confirmed that the NanoBio® Protect product

    exhibited a surface electrostatic charge having the same order of magnitude

    as Trutek's own NasalGuard® products.7



           On Page 9 of its brief, Defendant argued, "[t]o establish literal

    infringement, all of the elements of the claim, as correctly construed, must

    be present in the accused system." (citing TechSearch LLC v. Intel Corp.,

    286 F.3d 1360, 1371 (Fed. Cir. 2002).) Plaintiff has shown supra, that:

         NanoBio® Protect electrostatically attracts harmful particles (germs)
          and renders them harmless, satisfying Element (a) of Claims 1 and 2
          of the '802 Patent.

         NanoBio® Protect forms a thin film in the nasal passages having
          adequate impermeability, thus satisfying Element (b) of claims 1 and
          2 of the '802 Patent.

         NanoBio® Protect inactivates (kills) the harmful particulate matter
          and renders said particulate matter harmless, thus satisfying Element
          (c) of claims 1 and 2 of the '802 Patent.



    6
     Dr. Alexei Ermakov (Director, Chemistry Instruments and Experiments at Rutgers University)
    and Shane Burns (Test Laboratory Manager of Electro-Tech Systems, Inc., Perkasie,
    Pennsylvania).
    7
     BlueWillow filed a motion to exclude the testimony of Dr. Ermakov and Shane Burns
    because its experts disagree with the methodology of Trutek's experts.

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        The amount of benzalkonium chloride present in the NanoBio®
         Protect Product is sufficient to satisfy the claimed functions, thus
         satisfying claims 6 and 7 of the '802 Patent.

           Thus, a genuine dispute exists as to all of the facts material to a

    determination of whether BlueWillow's NanoBio® Protect product

    infringes the '802 Patent. Because summary judgment must be decided in

    light most favorable to the non-moving party, summary judgment of non-

    infringement should not be granted.



    III.   Summary Judgment denying damages and/or other remedies
           should not be granted because Plaintiff is entitled to damages as a
           matter of law.

           In its initial complaint, as part of its Prayer for Relief, Trutek

    requested the following:

           Defendants be required to pay over and account to Plaintiff for all
           gains, profits, and advantages derived from the infringement of its
           '802 Patent beginning April 24, 2012, based upon manufacture,
           sales, and/or use of the NANOBIO products in the United States
           and anywhere in the world, or by way of international commerce
           with the United States.

           Fed. R. Civ. P. 54(c) states that, "[e]very other final judgment [other

    than a default judgment] should grant the relief to which each party is

    entitled, even if the party has not demanded that relief in its pleadings."

           35 U.S.C. § 284 sets the statutory minimum for a damage award in

    cases of patent infringement. The damage to be awarded can be "in no



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    event less than a reasonable royalty for the use made of the invention by the

    infringer, together with interest and costs as fixed by the court."

          On February 18, 2022, Defendant served Plaintiff with interrogatory

    requests. Defendant's Interrogatory No. 10 requested:

          Identify and describe in detail all damages that you seek to
          recover in this Action, including an accounting of the specific
          categories of damages claimed (e.g., lost profits, reasonable
          royalty, or any other category you claim to have suffered as a
          result of any conduct by BlueWillow), the amount for each
          category and how it was calculated, the legal and factual bases
          supporting your claim for damages, all documents and evidence
          upon which you rely for your calculations, and the persons
          most knowledgeable about the information requested in this
          interrogatory.



          Plaintiff responded on May 10, 2022 with the following answer to

    Defendant's Interrogatory No. 10:

          The NanoBio Protect product is no longer being sold.
          BlueWillow took the product off the market sometime in mid-
          2021. However, the start date and end date of this product's
          sales is unknown. Because this product infringes upon the '802
          Patent, every sale of this product made by BlueWillow should
          have accrued to Trutek. Therefore, Plaintiff seeks the profit
          from every sale. The method of calculation of lost profits will be
          presented by an expert yet to be engaged.

          On April 8, 2022, Plaintiff served Defendant with interrogatory

    requests. Interrogatory No. 11 requested:

          For the Nanobio Protect nasal antiseptic product, which is
          currently cited in Plaintiff's Complaint, list and identify in


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          detail (a) the entities to which said product was sold; (b) the
          monetary amount of sales to each entity; (c) the total sales for
          the product; (d) the unit price of the product sold to each entity;
          and (e) the cost of each unit sold to each entity.

          Defendant served its answers on May 9, 2022.             Every page of

    Defendant's answers to interrogatories were marked with the heading,

    "OUTSIDE COUNSEL EYES' ONLY." Defendant's answer to Plaintiff's

    Interrogatory No 11 stated:

                In addition to its General Objections, BlueWillow objects
          to the interrogatory to the extent it seeks information in
          Plaintiff’s possession, custody, or control, including
          information provided in response to other discovery requests.

                 Subject to and without waiving its objections, BlueWillow
          states that NanoBio Protect® was primarily sold directly to
          customers through Amazon and CVS, in addition to a small
          volume of sales through other limited distribution channels
          (small pharmacies and independent websites). Pursuant to Fed.
          R. Civ. P. 33(d), BlueWillow states that the remaining answers
          to this interrogatory may be derived or ascertained from
          business records that BlueWillow will produce upon entry of a
          protective order.

          After close of fact discovery, a court ordered mediation took place on

    June 14, 2022.    Just prior to that event, Defendant's counsel presented

    Plaintiff's counsel with a document marked, "ATTORNEY'S EYES ONLY."

    The document was entitled, "BlueWillow Biologics NPB Sales By Month

    Jan 2020-Mar 2022." ("Defendant's Sales Document") This document was

    very detailed, and it provided most of the information requested in Plaintiff's



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    Interrogatory No. 11. However, the information therein could not be shared

    with anyone from Trutek. There was sufficient information in the document

    regarding number of sales to enable the fact finder to determine the value of

    a reasonable royalty. Yet, client input was necessary to determine Trutek's

    lost profits.   At the mediation session, Plaintiff's counsel presented the

    mediator with an estimate of lost profits, and the mediator was instructed to

    share that document with Defendant's counsel. But, input from the client

    was necessary to provide exact information. Defendant's Sales Document

    still remains unnecessarily classified as "ATTORNEY'S EYES ONLY" to

    this day.8

           Defendant's Sales Document shows that even after the lawsuit was

    filed, Defendant continued to sell its NanoBio® Protect product for

    approximately two-to-three additional months. At this point, BlueWillow

    was aware of the '802 Patent as well as Plaintiff's allegations of

    infringement.

           Once having examined Defendant's Sales Document, it became

    apparent that expert testimony would not be necessary to calculate either

    Trutek's lost profits or a reasonable royalty. Defendant's Sales Document



    8
     Due to Defendant's designation of the sensitive nature of Defendant's Sales Document,
    that document will not be uploaded along with this brief.

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    contained sufficient sales information that lost profits could now be

    presented as fact testimony by Trutek personnel.

           In its brief, Defendant stated that, "Courts will not permit introduction

    of a damages calculation or theory to be submitted to a jury when disclosed

    for the first time in response to a motion in limine or summary judgment."

    This is not the case here. Defendant delayed producing its sales information

    necessary for such calculations until after close of fact discovery. That

    document contained sufficient information to make royalty calculations.

    Nothing more was necessary. Further, Plaintiff's counsel gave estimated lost

    profit calculations for Trutek to the mediator with instructions to provide it

    to Defendant's counsel.9 However, due to the actions of Defendant, Trutek

    personnel are to this day prohibited from having information regarding the

    number of units of NanoBio® Protect that were sold, and to whom. It was

    the Defendant who created the problem by delaying providing sales data to

    Plaintiff until after close of discovery and by still preventing Trutek

    personnel from accessing it.

           Because NanoBio® Protect is no longer being sold by BlueWillow, it

    is difficult to understand why BlueWillow feels the need to hide the


    9
     Due to Defendant's designation of the sensitive nature of Defendant's Sales Document,
    the document estimating Trutek's lost profits will not be uploaded along with this brief
    because it copies sales information from Defendant's document..

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    product's sales data from Trutek. It is not expected that release of sales and

    marketing information for a product no longer on the market would

    compromise the Defendant. Certainly, a jury will require that information,

    and it is difficult to conceive that the Plaintiff will be excluded from such

    testimony.

          Defendant further stated, "courts will not award patent damages

    without supporting evidence or based on mere speculation and conjecture."

    Based on the information in Defendant's Sales Document, speculation and

    conjecture will not play a role in the calculation.

          Now, on Page 28 of its brief, Defendant states that, "Trutek has not

    met its burden to prove pre-suit damages." In its answer to Trutek's initial

    complaint, Defendant's Fourth Affirmative Defense read:

          On information and belief, BlueWillow’s claim for damages
          is statutorily barred and/or limited by 35 U.S.C. § 287 as,
          among other reasons, Plaintiff and/or their prior owners of
          the asserted patent and/or their agents, representatives,
          and/or licensees failed to adequately mark patented articles.

          Defendant was aware of Trutek's NasalGuard® products and of the

    patents for which protection is claimed. Yet, Defendant made no effort to

    inquire, or to collect or present any evidence to shore-up its defense.

    Nevertheless, the packaging for every NasalGuard® product sold in the

    United States since 2013 has not only a reference to the '802 Patent marked



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    thereon, but also reference to several other Trutek owned patents that cover

    the technology. Arctic Cat Inc. v. Bombardier Recreational Prod. Inc., 876

    F.3d 1350, 1366 (Fed. Cir. 2017) held that "[t]he patentee bears the burden

    of pleading and proving he complied with § 287(a)'s marking requirement."

    Trutek will show via fact testimony that it complied with the marking

    requirement of 35 U.S.C. § 287. All purchasers of NasalGuard® products in

    the United States had actual notice that the products sought protection of the

    '802 Patent.

          In his expert report, Dr. Lemmo stated that the "patent number of the

    '802 Patent is clearly marked for every unit sold in the United States." In

    addition, Plaintiff's expert, Amirali Y. Haidri, testified that he had purchased

    Trutek's NasalGuard® product in 2020, and that the '802 Patent was marked

    on the product's packaging. See Defendant's brief, Page 30. Mr. Haidri is an

    attorney and an officer of the court. At his deposition, Mr. Haidri was under

    oath. While he did not specify the exact date of purchase, the product's

    packaging must have been printed some time prior to his purchase.

    Defendant's Sales Document presents sales figures only dating back to

    January 2020.

          Proof that Plaintiff marked every NasalGuard® product since 2013

    can only be shown by fact testimony from a Trutek employee-representative.



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    Defendant had the opportunity to take a 30(b)(6) deposition, but it declined

    to do so. Therefore, Trutek will present such evidence to the Court either by

    request or at trial.



           Lastly, should summary judgment be granted denying a damage

    award to Plaintiff for Defendant's tort of infringing the '802 Patent, or if the

    court grants Defendant's Motion to exclude damages, the result would be

    unjust and manifestly unfair, and it would reward BlueWillow for its

    wrongful acts.



           A genuine dispute exists as to all of the facts material to a

    determination of whether damages were properly pled. Because summary

    judgment must be decided in light most favorable to the non-moving party,

    summary judgment of a zero damage award should not be granted.



    IV.    Summary judgment declaring the '802 Patent invalid should not
           be granted because Defendant failed to meet its burden of proving
           invalidity of the asserted claims by a standard of clear and
           convincing evidence.

           Defendant's brief alleges that the asserted claims of the '802 patent are

    invalid for being anticipated under 35 U.S.C. § 102 by U.S. Patent




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    Application Publication US 2009/0143476 A1 by Baker, et.al. (hereinafter,

    "Baker '476").10 First, Plaintiff does not dispute that Baker '476 is prior art.

          35 U.S.C. § 282(a) states:

          A patent shall be presumed valid. Each claim of a patent
          (whether in independent, dependent, or multiple dependent
          form) shall be presumed valid independently of the validity of
          other claims; dependent or multiple dependent claims shall be
          presumed valid even though dependent upon an invalid claim.
          The burden of establishing invalidity of a patent or any claim
          thereof shall rest on the party asserting such invalidity.

          Further, "Section 282 requires an invalidity defense to be proved by

    clear and convincing evidence." Microsoft Corp. v. i4i Ltd. Partnership, 564

    U.S. 91 (2011). "Clear and convincing evidence is that weight of proof

    which produces in mind of trier of fact a firm belief or conviction as to truth

    of the allegations sought to be established; it is evidence so clear, direct,

    weighty and convincing as to enable fact-finder to come to clear conviction

    without hesitancy, of truth of the precise facts of case." In re. CNC Payroll,

    Inc,, 491 B.R. 454 461 (2013), citing Shafer v. Army & Air Force Exch.

    Serv., 376 F.3d 386, 396 (5th Cir. 2004). See also, In re. JMW Auto Sales,

    494 B.R. 877, 889 (2013).




    10
      Defendant submitted a copy of Baker '476 as part of an exhibit accompanying its
    Motion for Summary Judgment — ECF 59-3, PageID 1899 through 1982 (i.e. pp 15-98
    of 98).

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           Defendant's brief only alleges anticipation under 35 U.S.C. § 102.

    Obviousness under 35 U.S.C. § 103 is not alleged in its brief. The issue of

    obviousness of the '802 Patent's claims over Baker '476 is argued in the

    reports of Amirali Y. Haidri and Dr. Edward A. Lemmo as well as in other

    briefs and motions pending before this Court. Thus, only anticipation of the

    '802 Patent's claims under 35 U.S.C. § 102 by Baker '476 will be discussed

    in this section.

           Under 35 U.S.C. § 102, "[a] claim is anticipated only if each and

    every element as set forth in the claim is found either expressly or inherently

    described in a single prior art reference." Thus, unless Defendant can show

    that Baker '476 teaches every element in claims 1, 2, 6, and 7 of the '802

    Patent, its allegation of invalidity fails.

           Baker '476 teaches, "compositions and methods for decreasing the

    infectivity, morbidity, and rate of mortality associated with a variety of

    pathogenic organisms and viruses." (Abstract.) It also teaches, "methods

    and compositions for decontaminating areas colonized or other wise infected

    by pathogenic organisms and viruses." Id. It further teaches, "methods and

    compositions for decreasing the infectivity of pathogenic organisms in

    foodstuffs.” Id.




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           The compositions disclosed and taught in Baker '476 are

    nanoemulsions. A nanoemulsion is defined as an oil-in-water emulsion with

    mean droplet diameters ranging from 50 to 1000 nm, with the average being

    10 to 500 nm. Stability is achieved by using suitable materials known as

    emulsifing agents. Actually, nanoemulsion technology11 has been around

    for at least sixty years.12 In Baker '476, the nanoemulsion itself serves as an

    adjuvant delivery system. It has been demonstrated that with the help of a

    nanoemulsion as a delivery system, retention time of a drug or

    biopharmaceutical in the body can be increased. Thus, a small amount of an

    active compound (drug or biopharmaceutical) is required for its therapeutic

    action.

           The asserted claims of the '802 Patent appear in this brief on Page 3,

    supra. In analyzing whether the asserted claims of the '802 Patent are taught

    by Baker '476, one must examine whether Baker '476 teaches every element

    of the '802 Patent's asserted claims. Baker '476 would be required to teach:



           1. a composition that forms a thin film when applied to a surface;
           2. the composition is applied to the skin or tissue of a person's nasal
              passages;

    11
      The terms, "nanoemulsions" and "microemulsions" are synonymous.
    12
      Schulman JH, Stoeckenius W, and Prince JM, "Mechanism and Formation and
    Structure of Micro Emulsions By Electron Microscopy," J. Phys. Chem. 1959, 63, 10,
    1677-1680, Publication Date: October 1, 1959.

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           3. the composition contains both a cationic agent and a biocidic
               agent;
           4. the adhesion of the composition is adjusted by varying the
               ingredients so that the thin film sticks to the skin or tissue of the
               person's nasal passages;
           5. the composition electrostatically attracts harmful particulate matter
               to the thin film;
           6. the adhesion and cohesion13 of the composition are adjusted such
               that the harmful particles are held in place by the thin film.
           7. the composition's thin film holds the harmful particles attracted to
               it in place so that they do not dislodge;
           8. the composition provides adequate impermeability to prevent the
               harmful particles from contacting or penetrating the nasal mucosa;
           9. the composition inactivates the particulate matter and renders it
               harmless; and
           10. the composition electrostatically inhibits the harmful particles from
               infecting the person through nasal inhalation.

           Based on the Federal Circuit's decision in Verdegaal Bros v. Union

    Oil Co.of California., 824 F.2d 628, 631 (Fed. Cir. 1987), if Baker '476 fails

    to teach any of the 10 attributes supra (contained in the asserted claims), the

    asserted claims of the '802 Patent cannot be invalid by anticipation under 35

    U.S.C. § 102. An analysis of the 10 attributes follows.

    1.     A composition that forms a thin film when applied to a surface is

           taught by Baker '476 at ¶¶ [0019] and [0206]. This is recited in the

           preambles of claims 1 and 2 of the '802 Patent.




    13
       Cohesion is a property of a substance where like molecules stick together; It can be
    observed in a thick viscous material. Here, two similar materials stick together. Adhesion
    is a property of a substance where unlike molecules stick together. Here, two dissimilar
    materials stick together.

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    2.    The composition being applied to the skin or tissue of a person's nasal

          passages is taught in Baker '476 at ¶¶ [0023], [0089], and [0189].

          This is recited in the preambles of claims 1 and 2 of the '802 Patent.

    3.    The composition containing both a cationic agent and a biocidic agent

          is taught throughout Baker '476. This is recited in the preamble of

          claim 2 of the '802 Patent.

    4.    The adhesion of the composition being adjusted by varying the

          ingredients so that the thin film sticks to the skin or tissue of the

          person's nasal passages is not expressly taught anywhere in Baker

          '476. The '476 Patent Application is silent about this element, which

          is recited in Elements (b) of claims 1 and 2 of the '802 Patent.

                Since Baker '476 is silent regarding this element, one must

          examine whether adhesion to the skin or tissue of the person's nasal

          passages is taught inherently in the application. It has already been

          established that Baker '476 teaches that the composition forms a thin

          film on surfaces. However, there is no indication of how well the

          composition sticks to the nasal mucosa or whether the adhesive

          properties of its ingredients are adjusted to prevent the nanoemulsion

          from rapidly dripping out of the user's nose. Adjusting the adhesion

          of the thin film is an activity that must be performed by a formulator



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          varying the composition's ingredients. There is no indication that this

          activity ever took place.

    5.    Baker '476 is silent regarding the composition electrostatically

          attracting harmful particulate matter to the thin film. This is recited in

          Elements (a) of claims 1 and 2 of the '802 Patent. This element is not

          expressly taught anywhere in Baker '476.

                Since Baker '476 is silent regarding this element, one must

          examine whether this element is inherent within its teachings. Baker

          '476 teaches the presence of cationic agents in its compositions.

          Cationic agents are known to create a positive electrostatic charge

          when applied to a surface, such as at a person's nostrils. This property

          creates a positively charged electrostatic field around the nose. It is

          also known the most airborne bacteria, viruses, and fungi (i.e.,

          harmful particles) are negatively charged. Thus, it is an inherent

          property of the compositions that the negatively charged airborne

          harmful particles will be attracted positively charged thin film. This

          is an inherent property of the composition. However, there is no

          indication that advantage was taken of this inherent property in

          furtherance of the invention of Baker '476. Electrostatic attraction

          of harmful particular matter was never utilized by Baker.



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    6.    The adhesion and cohesion of the composition being adjusted such

          that the harmful particles are held in place by the thin film is not

          expressly taught anywhere in Baker '476. This is a part of the "hold"

          function of Elements (b) of claims 1 and 2 of the '802 Patent. The

          '476 Patent Application is silent about this element.

                Since Baker '476 is silent regarding this element, one must

          examine whether the particles being held in place by the thin film is

          taught inherently in the application. This is not an inherent property

          of the compositions taught in Baker '476. Moreover, adjusting the

          adhesion and cohesion of the thin film is an activity that must be

          performed by a formulator varying the composition's ingredients.

          There is no indication that this activity ever took place.

    7.    Baker '476 is silent regarding the composition's thin film holding the

          harmful particles attracted to it in place so that they do not dislodge is

          not expressly taught anywhere in Baker '476. This is part of the

          "hold" function in Elements (b) of the '802 Patent.

                Since Baker '476 is silent regarding this element, one must

          examine whether the particles being held in place by the thin film and

          not dislodging is taught inherently in the application. This is not an

          inherent property of the compositions taught in Baker '476.



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    8.    Baker '476 is silent regarding whether the composition provides

          adequate impermeability to prevent the harmful particles from

          contacting or penetrating the nasal mucosa.        This is recited in

          Element's (b) in claims 1 and 2 of the '802 Patent. Neither of the

          terms "permeability" nor "impermeability" are mentioned in Baker

          '476. This element is not taught expressly in Baker '476.

                In its Markman Order (ECF 53), this Court adopted Plaintiff's

          claim construction where the term adequate impermeability "refers

          to the thin film holding harmful particles in place and inhibiting them

          from penetrating the thin film and contacting the skin or tissue of an

          individual’s nasal passages. This is done by varying the concentration

          of ingredients . . . [, ]thereby adjusting the adhesion and cohesion of

          the thin film."

                Adequate impermeability is not an inherent property of the

          compositions of Baker '476, nor does Baker '476 teach anything

          remotely connected to Element (b) of the '802 Patent's claim either

          expressly or inherently.

    9.    That the composition inactivates the particulate mater and renders it

          harmless is taught throughout Baker '476.




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    10.       At first glance, it would appear that Baker '476 teaches that the

              composition electrostatically inhibits the harmful particles from

              infecting the person through nasal inhalation. Defendant would argue

              that Baker '476 expressly teaches that the "invention relates to

              methods and compositions for decreasing the infectivity of pathogenic

              organisms," (Baker '476, Abstract) and that electrostatic attraction of

              harmful particles to the composition is an inherent property of the

              composition.

                     However, prosecution history estoppel forces a different

              definition onto the term, "electrostatically inhibiting."            Submitted

              herewith as Exhibit 4 is the USPTO office action of August 25, 2011

              for U.S. Patent Application No. 12/467,271.14                   As originally

              submitted, the preamble of claims 1 and 2 used the phrase,

              "electrostatically preventing harmful particulate matter from infecting

              an individual through nasal inhalation." 15 In Exhibit 4, the Examiner

              rejected the claims under 35 U.S.C. § 112, First Paragraph "because

              the specification, while being enabled for, at the most, inhibition of

              infections, does not reasonably provide enablement for the prevention

              of the same." (Id. Page 2.)

    14
         The '802 Patent issued from U.S. Patent Application No. 12/467,271 after allowance.
    15
         Emphasis added.

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                 Here, the objective truth of the statement that an infection, which is
              taken to mean the introduction of an infectious agent through the
              outside of a given host and into the system of such host, ... , would
              require that the exterior system of the host to be completely blocked so
              as to preclude any infectious material passing through such system
              and arriving within the system of the host.

                 In reading the present specification as a whole, it appears the
              tenor thereof is that infections, whether they cause a pathology or not
              may be inhibited 16 rather than be prevented. The former allowing at
              least one infectious material to pass into the system of the host rather
              than the latter which indicates that not even one of the infectious
              material is allowed to infect, i.e., pass into the system of the host.
              (Id. at Page 3.)

                     The USPTO Examiner stated that the rejection could be

              overcome by changing the word, "preventing" to "inhibiting." The

              Applicant amended the claims according to the Examiner's

              recommendation, and the application was allowed to issue as the '802

              Patent.

                     In its Markman Order (ECF 53), this Court adopted Plaintiff's

              construction of the term, "electrostatically inhibiting." Id. at Page 15.

              The Court stated:

                 Plaintiff suggested “electrostatically inhibiting” be construed as
              referring to a “formulation, which when applied to a surface, creates
              an electrostatic field such that oppositely charged particulates
              (including microorganisms) in the vicinity of the surface are
              electrostatically trapped, held thereto, and one or more of the
              microorganisms so captured is neutralized, killed, inactivated, and
              rendered harmless.” (Id. at Page 11.)

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         Emphasis supplied.

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             The term “electrostatically inhibiting” refers to one of the
          formulation’s key functions: using an electrostatic field to trap and
          neutralize harmful particles. It references both the electrostatic means
          by which the formulation operates and the aim of that formulation.
          The claim refers to the function as a “method” for “inhibiting
          harmful particulate matter,” and then the claim describes the three
          steps necessary for carrying out the inhibition: attracting the
          particulate matter, holding it in place, and “inactivating” it.
          (Id. at Page 12)

             The prosecution history of the “802 patent also supports adoption
          of Plaintiff’s proposed construction. The originally drafted patent
          used the language “electrostatically preventing” rather than
          “electrostatically inhibiting.” ... The patent examiner recommended
          changing that language to “electrostatically inhibiting” because the
          term “electrostatically preventing” did not “enable any person skilled
          in the art to which it pertains ... to make and use the invention
          commensurate in scope with the[] claims.” .... In other words, the
          prosecution examiner recommended the term “electrostatically
          inhibiting” be employed so that a person of ordinary skill in the art of
          pharmaceutical formulation could effectively use the technology. And
          “when a word is changed during prosecution, the change tends to
          suggest that the new word differs in meaning in some way from the
          original word.” Ajimototo Co., Inc. v. Int’l Trade Comm’n, 932 F.3d
          1342, 1351 (Fed. Cir. 2019). The patent examiner’s recommended
          change thus favors Plaintiff’s proposed construction because it
          reflects a definite meaning of the term “electrostatically inhibiting”
          that enables a person skilled in the art to use the patented technology.
          (Id. at Page 13)

                Thus, this Court ruled that, "electrostatically inhibiting"

          incorporates all three elements, (a), (b), and (c) of claims 1 and 2.



          As was argued supra, Plaintiff admits that Baker '476 expressly

    teaches (1) its compositions form a thin film when applied to a surface; (2)

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    some of its compositions are applied to the skin or tissue of a person's nasal

    passages; (3) its compositions contain both a cationic agent and a biocidic

    agent; and (9) its compositions inactivate harmful particulate matter and

    renders it harmless.

          Baker '476 does not expressly teach (5) the composition

    electrostatically attracts harmful particulate matter to the thin film.

    However, considering that the composition containing a cationic agent

    produces a positively charged electrostatic field and that most harmful

    particles are negatively charged, the composition has the inherent potential

    of electrostatically attracting said harmful particles. Yet, Baker '476 does

    not teach or suggest making use of this inherent property anywhere in its

    disclosure or that it was even aware of it.

          Now, Baker '476 does not expressly teach nor is it inherent that (4) the

    adhesion of the composition is adjusted by varying its ingredients; (6) the

    cohesion of the composition is adjusted by varying its ingredients; (7) the

    composition holds the harmful particles in place so that they do not dislodge;

    and (8) the composition provides adequate impermeability to prevent the

    harmful particles from contacting the nasal mucosa.

          Moreover, Baker '476 does not expressly teach nor is it inherent

    therein that (10) the composition electrostatically inhibits the harmful



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    particles from infecting the person through nasal inhalation, as the term

    "electrostatically inhibiting" was interpreted by both the USPTO and this

    Court.

             Therefore, because not all of the elements of the asserted claims of

    the '802 Patent are present in the disclosure of Baker '476, the asserted

    claims of the '802 patent cannot be anticipated by Baker '476 under 35

    US.C. § 102.

             On page 37 of its brief supporting its Motion for Summary Judgment,

    Defendant stated, "Dr. Amiji has provided unrebutted testimony that the

    'HOLD' element of the asserted claims is inherently disclosed by Baker, i.e.,

    it is the 'natural result' flowing from use of the compositions disclosed by

    Baker. First, he explains that the three functions of 'catch, hold and kill' are

    'not performed by three separate ingredients. Benzalkonium chloride as

    disclosed in Baker '476 imparts positive charge that can 'CATCH,' 'HOLD,'

    and "KILL.'"

             Respectfully, Dr. Amiji is wrong.     Benzalkonium chloride alone

    cannot cause changes to the adhesive and cohesive properties of the

    composition, nor can it render the composition adequately impermeable.

    That can only be done by a formulator adjusting the composition's




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    ingredients (e.g., a thickener, a binder, a surfactant, etc.). This is expressly

    stated in elements (b) of both claims 1 and 2 of the '802 Patent.

          Plaintiff's Expert Report of Edward A/ Lemmo, Ph.D. Responsive to

    and in Rebuttal of Defendant's Opening Expert Report of Mansoor M. Amiji

    is submitted herewith as Exhibit 5. This report is responsive to Dr. Amiji's

    opening report on patent invalidity. On pages 6 to 9 of Exhibit 5, Dr.

    Lemmo explains the "hold" function and why it is of critical importance to

    the '802 Patent's formulations.      This function is not accomplished by

    benzalkonium chloride alone.        Benzalkonium chloride only creates a

    positive electrostatic charge and provides biocidic action. It does not affect

    the adhesion and cohesion of the composition, nor can it make the

    composition, once applied, adequately impermeable. This is not taught in

    Baker '476, nor is it an inherent property therein.

          Defendant's expert, Amiji, alleges that because BlueWillow's

    NanoBio® Protect product is described in Baker '476, all of the properties of

    NanoBio® Protect are necessarily inherent in the disclosure of Baker '476.

    However, the NanoBio® Protect product was formulated for sale sometime

    around the year 2020. Even though the formulation may have followed the

    general outlines of Baker '476, it is not known what adjustments were made

    to the formulation that may not have been disclosed in the patent application



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    eleven years earlier. The missing elements were not taught in the prior art.

    The mere fact that NanoBio® Protect infringes on the claims of the ‘802

    Patent cannot be used as proof that the missing elements are inherent.

          Defendant has failed to prove patent invalidity by a clear and

    convincing evidentiary standard. Summary judgment of patent invalidity

    should not be granted.

    V.    CONCLUSION

          Plaintiff has shown that there is a genuine dispute as to material facts

    related to Defendant's allegations of non-infringement of BlueWillow's

    NanoBio® Protect product over the asserted claims of the '802 Patent.

    Plaintiff has also shown that there is a genuine dispute as to material facts

    related to invalidity of the asserted claims of the '802 Patent based on

    anticipation by Baker '476 under 35 U.S.C. § 102. All of Plaintiff’s claim

    construction arguments were adopted by this Court in its Markman Order.

    Defendant failed to prove patent invalidity by a clear and convincing

    evidentiary standard. In addition, Plaintiff has shown that it is entitled to

    damages as a matter of law by statute under 35 U.S.C. § 284 as well as Fed.

    R. Civ. P. 54(c).    Plaintiff will not rely on expert testimony to prove

    damages.    In addition, Defendant's sales information was delivered to

    Plaintiff's counsel after close of fact discovery even though it was requested



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    earlier by Plaintiff. Plaintiff presented estimated calculations of lost profits

    to the mediator with instructions to deliver it to Defendant's counsel.

    Defendant's sales information unnecessarily remains under seal to this day.

    Plaintiff's counsel cannot seek help from Trutek personnel for exact

    calculations of lost profits.    Furthermore, Plaintiff will prove by fact

    testimony that the packaging for all of its NasalGuard® products sold in the

    United States since 2012 had the '802 Patent marked thereon.

          When deciding a motion for summary judgment, "courts are required

    to view the facts and draw reasonable inferences 'in the light most favorable

    to the party opposing the [summary judgment] motion.'" Scott v. Harris,

    550 U.S. at 377.     Considering the arguments presented supra, Plaintiff

    respectfully requests that this Court deny Plaintiff's Motion for Summary

    Judgment.

    Dated: ___June 1, 2023___

                                                       Respectfully submitted,


                                                  ___/s/ Stanley H. Kremen___
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                     IN THE UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF MICHIGAN

                                SOUTHERN DIVISION



              TRUTEK CORP.,
                 Plaintiff,
                                           CIVIL ACTION No. 4:21-cv-10312
                       v.
        BlueWillow Biologics, Inc.        Hon. F. Kay Behm
     ROBIN ROE 1 through 10, gender
     neutral fictitious names, and ABC
      CORPORATION 1 through 10
             (fictitious names).
                 Defendants.




                            CERTIFICATE OF SERVICE

          Undersigned hereby states that on June 1, 2023, the attorney for

    Plaintiff caused the foregoing document to be served upon all counsel of

    record, via electronic service.




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